Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 1 of 58 PageID #:52




                      EXHIBIT 1
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 2 of 58 PageID #:53
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 3 of 58 PageID #:54
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 4 of 58 PageID #:55
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 5 of 58 PageID #:56
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 6 of 58 PageID #:57
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 7 of 58 PageID #:58
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 8 of 58 PageID #:59
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 9 of 58 PageID #:60
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 10 of 58 PageID #:61
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 11 of 58 PageID #:62
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 12 of 58 PageID #:63
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 13 of 58 PageID #:64
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 14 of 58 PageID #:65
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 15 of 58 PageID #:66
              Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 16 of 58 PageID #:67
Certificate of Registration
                       This Certificate issued under the seal of the Copyright
                       Office in accordance with title ry,Ilnited States Code,
                                                                                                                           ffi
                 ê     attests that registration has been made for the work
kt
                       identified below. The information on this certificate has
r                !     been made a part of the Copyright Offìce records.
                                                                                     Registration Number

                                                                                     VAU l-439-440
      ¡870                                                                           Effective Date of Registration:
                                                                                     July 19,2021
                       United States Register of Copyrights and Director             Registration Decision Date :
                                                                                     August 11,2021




      Title
                           Title of work: wTZARDING woRLD -- HARRY porrER -- SHARE youR MAGIC
                                          CORE RETAIL GUIDE (Style Guide)


     Gompletion/Publication
                     Year of Completion:     2021

     Author

                       r         duthor:     Warner Bros. Entertainment Inc.
                        Author Created:      2-D artwork
                     Work made for hire:     Yes
                           Domiciled in:     United States

     Copyright Claimant
                                             .Warner
                     Copyright Claimant:               Bros. Entertainment Inc.
                                             4000 Warner Blvd., Burbank, CA, 91522, United States




      Rights and Permissions

                     Organization Name:     'Warner
                                                    Bros. Entertainment Inc.
                                Address:    c/o Legal Dept.
                                            4000 V/arner Blvd.
                                            Burbank, CA91522 United States

     Certification

                                  Name:     Craig Hamilton
                                   Date:    Jttly 19,2021



                                                                                                              Page I of2
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 17 of 58 PageID #:68




                                                                          Page2 of2
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 18 of 58 PageID #:69
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 19 of 58 PageID #:70
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 20 of 58 PageID #:71
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 21 of 58 PageID #:72
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 22 of 58 PageID #:73
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 23 of 58 PageID #:74
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 24 of 58 PageID #:75
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 25 of 58 PageID #:76
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 26 of 58 PageID #:77
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 27 of 58 PageID #:78
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 28 of 58 PageID #:79
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 29 of 58 PageID #:80
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 30 of 58 PageID #:81
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 31 of 58 PageID #:82
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 32 of 58 PageID #:83
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 33 of 58 PageID #:84
              Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 34 of 58 PageID #:85
Certificate of Registration
                                                                                                                                       ËËE
        sTAT                 This Certificate issued under the seal of the Copyright                                                   +-ïli
                             Offìce in accordance with title ry,United States Code,
                   â         attests that registration has been made for the work
¡¡t
                             identified below. The information on this certificate has         Registration Number
t-.
                   !         been made a part of the Copyright Ofûce records.
                                                                                               PL 2-348-313
                                                                                               Effective Date of Registration:
        I870
                                                                                               Apnl 15,2022
                                                                                               Registration Decision Date:
                             United States Register of Copyrights and Director                 May 09,2022




      Title
                              Title of Work: FANTASTIC BEASTS: THE SECRETS OF DTIMBLEDORE


      Completion/Publ ication
                       Year of Completion:       2022
                  Date of lst Publication:        Apnl06,2O22
                 Nation of lst Publication:      Belgium
                             Preregistration:    PRE000012354


      Author
                         o           Author:     'Warner Bros. Pictures, a division
                                                                                       of WB Studio Enterprises Inc.
                          Author Created:        entire motion picture
                       Work made for hire:       Yes
                             Domiciled in:       United States


      Copyright Claimant
                       Copyright Claimant:       Vy'arner Bros. Entertainment Inc.
                                                 4000 V/arner Boulevard, Burbank, CA,91522, United States
                       Transfer statement:       By Assignment

      Limitation of copyr¡ght claim
       Material excluded from this claim: scriplscreenplay, certain preexisting licensed materials, based on characters
                                                 created by J.K. Rowling.

         New material included in claim:         all other cinematographic material

       Rights and Permissions

                       Organization Name:       Warner Bros. Entertainment Inc.
                                  Address:      Legal Department
                                                4000 \üarner Boulevard


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      Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 35 of 58 PageID #:86



                                  Burbank, CA9I522 United States

Certification
                        Name:     Lupe Lopez
                         I)ate:   AprrJ15,2022



                Correspondence: Yes




                                                                                Page2of 2
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 36 of 58 PageID #:87
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 37 of 58 PageID #:88
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 38 of 58 PageID #:89
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 39 of 58 PageID #:90
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 40 of 58 PageID #:91
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 41 of 58 PageID #:92
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 42 of 58 PageID #:93
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 43 of 58 PageID #:94
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 44 of 58 PageID #:95
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 45 of 58 PageID #:96
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 46 of 58 PageID #:97
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 47 of 58 PageID #:98
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 48 of 58 PageID #:99
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 49 of 58 PageID #:100
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 50 of 58 PageID #:101
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 51 of 58 PageID #:102
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 52 of 58 PageID #:103
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 53 of 58 PageID #:104
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 54 of 58 PageID #:105
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 55 of 58 PageID #:106
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 56 of 58 PageID #:107
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 57 of 58 PageID #:108
Case: 1:25-cv-02056 Document #: 1-1 Filed: 02/27/25 Page 58 of 58 PageID #:109
